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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


    ELAINE LEVINS and WILLIAM
    LEVINS, on behalf of themselves and
    those similarly situated,                    Case 1:17-cv-00928-CPO-MJS

                       Plaintiffs,

                vs.

    HEALTHCARE REVENUE
    RECOVERY GROUP, d/b/a/ ARS
    ACCOUNT RESOLUTION
    SERVICES; and JOHN and JANE
    DOES 1 to 25,

                       Defendants.




                          BRIEF ON BEHALF OF
             PLAINTIFFS ELAINE LEVINS AND WILLIAM LEVINS
            IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
                          RETURNABLE: JULY 5, 2022
                        (ORAL ARGUMENT REQUESTED)


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                                      1. INTRODUCTION
         Defendant Healthcare Revenue Recovery Group (“HRRG”) collects debts

   owed for healthcare services. HRRG is alleged to have violated the Fair Debt

   Collection Practices Act (FDCPA), 15 U.S.C. § 1692 et seq. with respect to a pre-

   recorded message which HRRG leaves on consumer’s answering machines or

   voicemail which identify the caller as “ARS.”

         According to HRRG’s business records, it left 28 identical messages for

   Plaintiffs Elaine Levins and William Levins and at least five of the same messages

   for 784 other New Jersey residents when attempting to collect a debt alleged to be

   owed to Atlantic Emergency Physicians-Team Pediatric Associates.

         Plaintiffs now moves to certify this action as a class action pursuant to FED.

   R. CIV. P. 23(c).


                                  2. THE MOTION RECORD
         This Motion is supported by four declarations. Two are from the Plaintiffs

   and proposed class representatives, Elaine Levins and William Levins. The other

   two are from Plaintiffs’ attorneys, Yongmoon Kim, Esq., and Philip D. Stern, Esq.

         The motion record is also supported by matters of record in this action which

   includes the Third Circuit’s partial reversal of the dismissal of this action, the

   Court’s denial of Defendant’s summary judgment motion, and the factual record




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   supporting Plaintiffs’ Counterstatement of Undisputed Material Facts filed in

   opposition to Defendant’s summary judgment motion.


                     3. THE FAIR DEBT COLLECTION PRACTICES ACT

         This case arises under the FDCPA, which simultaneously advances two

   objectives: it protects vulnerable citizens while also promoting a competitive

   marketplace. 15 U.S.C. § 1692(e).

         Congress adopted the FDCPA with the “express purpose to eliminate

   abusive debt collection practices by debt collectors, and to insure that those debt

   collectors who refrain from using abusive debt collection practices are not

   competitively disadvantaged.” Jerman v. Carlisle, McNellie, Rini, Kramer &

   Ulrich LPA, 559 U.S. 573 (2010) (internal quotes and ellipsis omitted). The Third

   Circuit echoed the Supreme Court’s rationale from Jerman, “Congress explained

   that the purpose of the Act was not only to eliminate abusive debt collection

   practices, but also to ‘insure that those debt collectors who refrain from using

   abusive debt collection practices are not competitively disadvantaged.’” Lesher v.

   Law Offices of Mitchell N. Kay, P.C., 650 F.3d 993, 996 (3d Cir. 2011).

         Congress has found abundant evidence indicating that abusive, deceptive,

   and unfair debt collection practices are employed by a nearly countless number of

   debt collectors. These unsavory practices actively contribute to the number of

   personal bankruptcies, marital instability, loss of jobs, and invasions of individual


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   privacy. 15 U.S.C. § 1692(a). It also found that existing consumer protection laws

   were inadequate. 15 U.S.C. § 1692(b). Therefore, “Congress gave consumers a

   private cause of action against debt collectors who fail to comply with the Act.”

   Lesher, 650 F.3d at 997.

         Thus, the intended effect of these private enforcement actions was not only

   to lessen marital instability and reduce the number of personal bankruptcies, job

   losses, and invasions of individual privacy caused by abusive, deceptive, and

   unfair debt collection practices, but also to simultaneously promote a competitive

   marketplace for those debt collectors who voluntarily conduct business in good

   faith, treating consumers with honesty and respect.

         “Congress recognized that ‘the vast majority of consumers who obtain credit

   fully intend to repay their debts. When default occurs, it is nearly always due to an

   unforeseen event such as unemployment, overextension, serious illness or marital

   difficulties or divorce.’” FTC v. Check Investors, Inc., 502 F.3d 159, 165 (3d Cir.

   2007). Nevertheless, “‘[a] basic tenet of the Act is that all consumers, even those

   who have mismanaged their financial affairs resulting in default on their debt,

   deserve ‘the right to be treated in a reasonable and civil manner.’” FTC, 502 F.3d

   at 165 quoting Bass v. Stolper, Koritzinsky, Brewster & Neider, S.C., 111 F.3d

   1322, 1324 (7th Cir. 1997).




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         The FDCPA is construed broadly to effectuate its remedial purposes and a

   debt collector’s conduct is judged from the standpoint of the “least sophisticated

   consumer.” Brown v. Card Serv. Ctr., 464 F.3d 450, 453 n.1 (3d Cir. 2006). Thus,

   by way of example, “A debt collection letter is deceptive where it can be

   reasonably read to have two or more different meanings, one of which is

   inaccurate.” Id. at 455. “This standard is less demanding than one that inquires

   whether a particular debt collection communication would mislead or deceive a

   reasonable debtor.” Campuzano-Burgos v. Midland Credit Mgmt., Inc., 550 F.3d

   294, 298 (3d Cir. 2008).

         “Congress also intended the FDCPA to be self-enforcing by private

   attorneys general.” Weiss v. Regal Collections, 385 F.3d 337, 345 (3d Cir. 2004).

   As at least one court found:

                  In order to prevail, it is not necessary for a plaintiff
                  to show that she herself was confused by the
                  communication she received; it is sufficient for a
                  plaintiff to demonstrate that the least sophisticated
                  consumer would be confused. In this way, the
                  FDCPA enlists the efforts of sophisticated consumers
                  like Jacobson as ‘private attorneys general’ to aid
                  their less sophisticated counterparts, who are
                  unlikely themselves to bring suit under the Act, but
                  who are assumed by the Act to benefit from the
                  deterrent effect of civil actions brought by others.
   Jacobson v. Healthcare Fin. Services, Inc., 516 F.3d 85, 91 (2d Cir. 2008).

   “Congress encouraged private enforcement by permitting aggrieved individuals to



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   bring suit as private attorneys general.” Gonzales v. Arrow Fin. Services, LLC, 660

   F.3d 1055, 1061 (9th Cir. 2011). In this way, “the FDCPA protects all consumers,

   the gullible as well as the shrewd.” Clomon v. Jackson, 988 F.2d 1314, 1318 (2d

   Cir. 1993).

          Except where the Act expressly requires knowledge or intent, the “FDCPA

   is a strict liability statute to the extent it imposes liability without proof of an

   intentional violation,” Allen ex rel. Martin v. LaSalle Bank, N.A., 629 F.3d 364,

   368 (3d Cir. 2011) (citing, in footnote 7, supporting authorities from the Second,

   Seventh, Ninth and Eleventh Circuits).

          Liability under the FDCPA arises upon the showing of a single violation.

   Taylor v. Perrin, Landry, deLaunay & Durand, 103 F.3d 1232, 1238 (5th Cir.

   1997); Bentley v. Great Lakes Collection Bureau, 6 F.3d 60, 62-3 (2d Cir. 1993).

          A debt collector who violates any provision of the FDCPA is liable for any

   actual damages, “additional damages” (also called “statutory damages”), and

   attorney’s fees and costs. 15 U.S.C. § 1692k(a). However, “the FDCPA permits

   and encourages parties who have suffered no loss to bring civil actions for

   statutory violations.” Jacobson, supra, 516 F.3d at 96.


                                  4. NATURE OF THE ACTION.
          The FDCPA prohibits debt collectors from using any “name other than the

   true name of the debt collector’s business, company, or organization” when


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   attempting to collect a debt. 15 U.S.C. § 1692e(14). In this case, Levins v.

   Healthcare Revenue Recovery Grp. LLC, 902 F.3d 274, 281 (3d Cir. 2018), the

   Third Circuit adopted the FTC’s interpretation “to permit a debt collector to use

   [1] its full business name, [2] the name under which it usually transacts business,

   or [3] a commonly-used acronym, as long as it consistently uses the same name

   when dealing with a particular consumer.” (Internal quotation marks and editing

   omitted.)

         Conceding HRRG’s use of “ARS” does not fall within the first two

   categories, HRRG moved for summary judgment as to the third category. The

   Court denied that motion based on the existence of disputed facts. It explained,

   “viewing the facts in the light most favorable to Plaintiffs, HRRG did not

   consistently use the name ‘ARS’ when attempting to collect Plaintiffs’ debt.”

   [D.E. 58 at 8.]

         In its Opinion denying HRRG’s summary judgment motion, the Court

   explained that “HRRG was formed in 2004 to take over the medical debt collection

   functions of a different entity known as ‘IMBS.’” [D.E. 58 at 2.] “While it has

   registered the name ‘ARS ACCOUNT RESOLUTION SERVICES’ in New

   Jersey, HRRG has neither registered the stand-alone name ‘ARS’ nor taken any

   other legal steps to do business under that specific name.” Levins, 902 F.3d at 278;




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   Friedlander1 167:4-12 and 168:14-170:2. In 2009, HRRG created a team or

   division within HRRG “to perform collection services for HRRG’s more severely

   delinquent accounts.” [D.E. 58 at 2.] That division is internally referred to as

   “ARS.” The Court explained how an account is placed with the ARS team:

                     Consumer debts must take a winding path before
                     being placed with the ARS division. First, the
                     consumer must incur the debt with a healthcare
                     provider that uses HCFS for billing services. After an
                     “active billing process” with HCFS, debts are
                     selected for placement with HRRG based on their
                     age. (Id. at 35). At some point after placement with
                     HRRG, these debts are evaluated and returned to
                     HCFS. (Id. at 79). Finally, some of the debts returned
                     to HCFS are transferred to the ARS division. (Id.).
   [D.E. 58 at 2.]

         When HRRG’s autodialer is calling to collect an account assigned to the

   ARS division and reaches a consumer’s voicemail, it leaves the following pre-

   recorded telephone voice message:

                        This is ARS calling. Please return our call at
                        1-800-694-3048. ARS is a debt collector.
                        This is an attempt to collect a debt. Any
                        information obtained will be used for that



   1
     Citations to Friedlander refer to the internal page and line numbers in the
   transcript of the Deposition of David M. Friedlander, one of HRRG’s Rule
   30(b)(6) witnesses. The transcript was previously filed in opposition to HRRG’s
   summary judgment motion as part of D.E. 53-2 (at PageID 512 through 694).
   Exhibits D-1 through D-5 marked at the deposition appear in D.E. 53-2 (at Page ID
   695 through 731).

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                       purpose. Again, our number is 1-800-694-
                       3048. Visit us at www.arspayment.com.

   [D.E. 53-2 at Page ID 652 (Friedlander 141:15-19), and PageID 719 (Deposition

   Ex. D-4).]

          HRRG’s account notes reflect that it left that message for Plaintiffs on

   various dates at various times from December 15, 2015 through January 19, 2017.

   [See, Friedlander 131:16-132:7, 133:1-9, and 135:10-18 confirming that each

   paired lines appearing on PageID 706-710 represents a telephone call resulting in

   leaving the pre-recorded message identifying HRRG as ARS.] From spreadsheets

   produced by HRRG, it left the ARS pre-recorded message 28 times. Stern Decl.

   ¶31.

          HRRG also claims to have mailed a letter to Plaintiffs after the account was

   placed with the ARS division. The letter is included in Exhibit D-2 marked during

   the Friedlander deposition and can be found in D.E. 53-2 at PageID 701. In the

   letter, HRRG used “ARS” in parenthesis in the first line of its letter which,

   according to HRRG’s President, is “just to clarify in the remainder of the text of

   the letter that we may use just the initials ARS to mean ARS Account Resolution

   Services” so someone reading the letter would understand that letter’s subsequent

   use of ARS meant ARS Account Resolution Services without having to call or go

   to the website. [Friedlander 51:11-15; 142:1-21 (emphasis added).] Unlike that

   letter, there is nothing in HRRG’s pre-recorded message which clarifies that its use

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   of “ARS” means “ARS Account Resolution Services” which is HRRG’s registered

   alternate name.

         When denying HRRG’s summary judgment motion, the Court stated,

   “viewing the facts in the light most favorable to Plaintiffs, HRRG did not

   consistently use the name ‘ARS’ when attempting to collect Plaintiffs’ debt.”

   [D.E. 58 at 8.]

         Plaintiffs seek statutory damages as allowed under the FDCPA. Specifically,

   up to $1,000 for each Plaintiff and up to the lesser of $500,000 or 1% of HRRG’s

   net worth for the class. (Discovery of HRRG’s net worth abides the outcome of the

   instant motion.)


                               5. THE ASCERTAINABLE CLASS.
         Plaintiffs seek to certify the following Class:

                      All natural persons to whom, according to the
                      business records of Healthcare Revenue Recovery
                      Group (HRRG), HRRG placed at least five
                      telephone calls in an attempt to collect a debt
                      alleged to be owed to ATLANTIC ER PHYS
                      TEAM PED, each call was answered by an
                      answering machine or voicemail system anytime
                      from February 12, 2016 through March 12, 2017,
                      and during each call the following pre-recorded
                      message was played:

                        This is ARS calling. Please return our call at
                        1-800-694-3048. ARS is a debt collector.
                        This is an attempt to collect a debt. Any
                        information obtained will be used for that


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                      purpose. Again, our number is 1-800-694-
                      3048. Visit us at www.arspayment.com.

         This definition allows for an ascertainable class which is “an essential

   prerequisite of a class action.” Marcus v. BMW of N. Am., LLC, 687 F.3d 583, 592

   (3d Cir. 2012). Ascertainability requires that “the class must be currently and

   readily ascertainable based on objective criteria.” Id. at 593. The proposed

   definition allows for identification of each class member derived from HRRG’s

   own business records. Those records allow for identifying the obligor on each

   account filtered by a specific creditor to which telephone calls were placed on

   specific dates resulting in playing a pre-recorded message.

         According HRRG’s records, the Class consists of 783 natural persons. Stern

   Decl. ¶27. The Class increases to 878 if defined to require only one message and

   decreases to 432 if defined to require at least fifteen messages. Stern Decl. ¶32.

         As explained in the Stern Decl. at ¶¶28-31, to eliminate Defendant’s charge

   that sometimes its records reflect a false positive—that a message was left but, due

   some technical glitch, none was left—setting a minimum number of messages

   increases the likelihood that at least one offending message was left.

         The start date, February 12, 2016, for the Class is the date which is one year

   prior to the commencement of this action. Under American Pipe & Constr. Co. v.

   Utah, 414 U.S. 538 (1974), the claim of each class member is tolled as of the

   commencement of this action. Under 15 U.S.C. § 1692k(d), the statute of


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   limitations on an FDCPA claim is one year. An FDCPA claim arising from the

   transmittal of a voice message arises when the message is sent. Saldana v.

   Resurgent Capital Servs., LP, 2021 U.S. Dist. LEXIS 160759 at n. 7, 2021 WL

   3758080 (D.N.J. Aug. 25, 2021).

         The Class is defined based on the common facts shared with both Plaintiffs.

   The qualifying factors—the content of the telephonic voice message and the

   geographic scope (New Jersey) of the addressee—promote manageability (which is

   a factor relevant to the predominance and superiority requirements under FED. R.

   CIV. P. 23(b)(3)) and is consistent with the FDCPA. Under 15 U.S.C.

   § 1692k(a)(2), a class can recover up to 1% of the debt collector’s net worth but no

   more than $500,000 “without regard to a minimum individual recovery.”

         In an oft-cited case, Mace v. Van Ru Credit Corp., 109 F.3d 338 (7th Cir.

   1997), the Seventh Circuit reversed the district court’s denial of class certification.

   Plaintiff asserted an FDCPA letter violation but proposed to limit the class

   geographically to Wisconsin addressees. According to the district court, limiting

   the class exposed the debt collector to multiple statewide classes which, in the

   aggregate, would effectively abrogate the FDCPA’s 1% limitation on class

   recovery. However, the district court refused to certify a nationwide class because




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   it would be so large that the individual recovery would be de minimis.2 The

   Seventh Circuit reversed. It found no basis for prohibiting a narrow class definition

   which reduces the class. To the extent doing so exposes a debt collector to serial

   class actions, a court could address the problem if such a circumstance were to

   actually arise.

         Limiting an FDCPA class by the creditor, or other germane qualifying

   factors, is not improper. In Guevarra v. Progressive Fin. Servs., 2006 U.S. Dist.

   LEXIS 89193, 2006 WL 3613711 (N.D. Cal. Nov. 30, 2006), the plaintiff filed a

   class action complaint asserting a letter claim under the FDCPA without limiting

   the class by the creditor. The debt collector had mailed the letter on behalf of

   multiple creditors. Subsequently, plaintiff amended the complaint to limit the class

   to letters collecting only IKEA debts “as part of some agreement with other

   counsel who are proceeding against defendants for letters sent to collect debts

   owed to other creditors.” Id. Concerned that this conduct violated professional

   ethics, the court ordered plaintiff’s counsel to show cause why he should not be

   referred to the ethics committee. However, after hearing from plaintiff’s counsel,

   the court concluded there was no basis to refer plaintiff’s counsel to said ethics

   committee. Guevarra v. Progressive Fin. Servs., 497 F. Supp. 2d 1090 (N.D. Cal.


   2
    In this District, a de minimis recovery is not a basis to deny certifying an FDCPA
   class. Barkouras v. Hecker, 2006 U.S. Dist. LEXIS 88998, 2006 WL 3544585
   (D.N.J. Dec. 8, 2006).

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   2007). The court considered that the FDCPA creates an incentive to keep class

   sizes small and, ostensibly, while those FDCPA “mis-incentives” might conflict

   with the purpose of 28 U.S.C. § 1927 (allowing sanctions for multiplying the

   proceedings), “any remedy to this situation lies with Congress” and not with

   plaintiff’s counsel. Id. at 1092.

         Hence, limiting an FDCPA class by creditor is entirely legitimate. Here,

   Plaintiffs seek to limit the class to those for whom HRRG was attempting to collect

   a debt alleged to be owed to Atlantic Emergency Physicians-Team Pediatric

   Associates—the same creditor involved with the Levinses’ account.

         These limitations are applied for the purpose of manageability and to obtain

   a greater recovery for each class member compared with the recovery if the class

   were larger. Courts have expressly permitted such definitional limitations due to

   the FDCPA class relief formula.

         For example, an FDCPA class was recently certified which limits the class

   to residents of West Long Branch. Hassine v. Simon’s Agency, 2021 U.S. Dist.

   LEXIS 125865, 2021 WL 2646990 (D.N.J. Apr. 29, 2021). Hassine cited to Knight

   v. Midland Credit Mgmt., 2019 U.S. Dist. LEXIS 59794, 2019 WL 1516941 (E.D.

   Pa. Apr. 5, 2019) which certified an FDCPA class limited to Philadelphia County

   where plaintiff argued that doing so would allow her to “obtain a greater recovery

   for potential class members.” Id., LEXIS at *29.


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                             6. THE CLASS REPRESENTATIVES.

         The interests of Elaine and William Levins are to obtain damages on behalf

   of themselves and the class as allowed under the FDCPA for Defendant’s violation

   of the Act. There is no conflict between his interests and those of the other

   members of the proposed class. Elaine Levins Decl.; William Levins Decl.

   Furthermore, Plaintiffs have been deposed and have been available as needed

   including sitting for depositions. Stern Decl. ¶34, ¶38.


                                     7. CLASS COUNSEL.

         The proposed Class Counsel is the Kim Law Firm LLC. The Declarations of

   Messers. Kim and Stern submitted with this Motion set forth (a) the work

   performed in identifying and investigating potential claims in this action, (b)

   generally describe the work performed; (c) their experience in handling class

   actions, other complex litigation, and the types of claims asserted in the action,

   (d) their knowledge of the applicable law, and (e) the resources they will commit to

   representing the class—all required factors under FED. R. CIV. P. 23(g). Stern Decl.

   ¶¶33-35; Kim Decl. ¶¶15-16.)


                                      8. CLASS NOTICE.

         After a class is certified under FED. R. CIV. P. 23(b)(3), “the court is required

   to direct to class members the best notice practicable under the circumstances,

   including individual notice to all members who can be identified through


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   reasonable effort.” Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 173 (1974).

   Further, “Individual notice must be sent to all class members whose names and

   addresses may be ascertained through reasonable effort.” Larson v. AT&T Mobility

   LLC, 687 F.3d 109, 124 (3d Cir. 2012).

         The cost of such notice is generally borne by plaintiffs. Eisen, 417 U.S. at

   178-179. The Supreme Court has expressly recognized that, with respect to

   identification of class members, “the defendant may be able to perform a necessary

   task with less difficulty or expense than could the representative plaintiff.”

   Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 356 (1978). “In such cases, we

   think that the district court properly may exercise its discretion under

   FED. R. CIV. P. 23(d) to order the defendant to perform the task in question.” Id.

         Therefore, if this Motion is granted, Plaintiffs will move for approval of a

   notice and, to the extent the information has not already been provided by

   Defendant in discovery, to compel Defendant to provide the mailing list to the

   appointed class counsel for the purpose of serving notice to the class.


                      9. REQUIREMENTS FOR CLASS CERTIFICATION.

         “At an early practicable time after a person sues or is sued as a class

   representative, the court must determine by order whether to certify the action as a

   class action.” FED. R. CIV. P. 23(c)(1)(A).

         The Third Circuit explained:


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                In order to be certified, a class must satisfy the four
                requirements of Rule 23(a): (1) numerosity; (2)
                commonality; (3) typicality; and (4) adequacy of
                representation. If the Rule 23(a) criteria are satisfied, the
                court must also find that the class fits within one of the
                three categories of class actions defined in Rule 23(b).
   In re Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions, 148 F.3d 283,

   308-09 (3d Cir. 1998).

         Here, Elaine and William Levins seek to maintain the class under

   FED. R. CIV. P. 23(b)(3). “In order to pass muster under Rule 23(b)(3), the district

   court must determine that common questions of law or fact predominate and that

   the class action mechanism is the superior method for adjudicating the case.” Id.

         “The dominant concern of Rule 23(a) and (b) [is] that a proposed class have

   sufficient unity so that absentees can fairly be bound by class representatives’

   decisions.” Amchem Products, Inc. v. Windsor, 521 U.S. 591, 593 (1997).

         “Class certification is proper only if the trial court is satisfied, after a

   rigorous analysis, that the prerequisites of Rule 23 are met.” In re Hydrogen

   Peroxide Antitrust Litig., 552 F.3d 305, 309 (3d Cir. 2008) (internal quotation

   marks omitted). Factual determinations are made based on a preponderance of the

   evidence. Id. at 307. Moreover, “the court must resolve all factual or legal disputes

   relevant to class certification, even if they overlap with the merits—including

   disputes touching on elements of the cause of action.” Id.




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         Claims arising from a debt collector’s false identifications, like those

   included in the messages sent to Plaintiffs and each class member, present ideal

   circumstances for class treatment. Stair ex rel. Smith v. Thomas & Cook, 254

   F.R.D. 191 (D.N.J. 2008), involved a claim that a form letter violated the FDCPA.

   There, the issue concerned a form letter alleged to contradict the notice of the

   consumer’s 30-day rights required under 15 U.S.C. § 1692g(a). Id. at 194, 198.

   Here, the claim concerns the false identification uniformly made in HRRG’s

   telephonic voice messages. First Am. Compl. (ECF No. 9) at ¶¶ 30-31.

         Any factual variations between Stair and the present matter are distinctions

   without a difference. Stair granted class certification because—like HRRG—the

   debt collector included the same language in its collection communications to the

   plaintiff and each class member. See also Schultz v. Midland Credit Mgmt., 2020

   U.S. Dist. LEXIS 98824, 2020 WL 3026531 (D.N.J. June 5, 2020) (certifying a

   FDCPA class who were sent a form letter with a certain IRS language who had a

   current balance of less than $600); Williams v. Pressler & Pressler, LLP, 2013

   U.S. Dist. LEXIS 139643, 2013 WL 5435068 (D.N.J. Sept. 27, 2013) (certifying a

   class for alleged FDCPA violation based on language in a form letter); Little-King

   v. Hayt Hayt & Landau, 2013 U.S. Dist. LEXIS 129587, 2013 WL 4874349

   (D.N.J. Sep. 10, 2013) (same).




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                            A.   The Elements of Rule 23(a).

         For a lawsuit to be maintained as a class action under Rule 23, a named

   plaintiff must establish each of the four threshold requirements of subsection (a) of

   the rule, which provides:

                One or more members of a class may sue or be sued as
                representative parties on behalf of all only if:

                      (1) the class is so numerous that joinder of all
                      members is impracticable;

                      (2) there are questions of law or fact common to
                      the class;

                      (3) the claims or defenses of the representative
                      parties are typical of the claims or defenses of the
                      class; and

                      (4) the representative parties will fairly and
                      adequately protect the interests of the class.

   FED. R. CIV. P. 23(a). See, e.g., Barnes v. Am. Tobacco Co., 161 F.3d 127 (3d Cir.

   1998); Prudential, 148 F.3d at 308-09.

         Before addressing the specific factors, it is important to recognize, as did the

   Supreme Court, that commonality, typicality, and adequacy tend to merge as each

   element attempts to address the overriding issue as to whether the interests of

   absent class members will be sufficiently protected by the representatives. Wal-

   Mart Stores, Inc. v. Dukes, 564 U.S. 338 n.5 (2011); Amchem Products, Inc. v.

   Windsor, 521 U.S. at 593.




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          Furthermore, when evaluating commonality and typicality, the Third Circuit

   observed:

                We have set a low threshold for satisfying both
                requirements. That is, Rule 23(a) does not require that
                class members share every factual and legal predicate to
                meet the commonality and typicality standards. [N]either
                of these requirements mandates that all putative class
                members share identical claims. Nevertheless, we require
                courts to examine them separately because the criteria
                remain distinct.

   Newton v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 259 F.3d 154, 183 (3d Cir.

   2001) (internal quotation marks and citations omitted).

          In the case at bar, all four of the required elements of Rule 23(a) are easily

   satisfied.


    (1) Numerosity.

          FED. R. CIV. P. 23(a)(1) requires that the class be “so numerous that joinder

   of all members is impracticable.” A class of 40 is presumed to be sufficiently

   numerous. See, e.g., Stewart v. Abraham, 275 F.3d 220, 226-27 (3d Cir. 2001)

   (“generally if the named plaintiff demonstrates that the potential number of

   plaintiffs exceeds 40, the first prong of Rule 23(a) has been met.”).

          Nevertheless, numerosity is not purely based on numbers; the factors include

   “the size of the class, ease of identifying members and determining addresses, ease

   of service on members if joined, geographical dispersion and whether proposed



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   members of the class would be able to pursue remedies on an individual basis.”

   Liberty Lincoln Mercury v. Ford Mktg. Corp., 149 F.R.D. 65, 74 (D.N.J. 1993).

   Thus, courts have found numerosity for classes with as few as 18 members.

   Cypress v. Newport News General and Nonsectarian Hospital Ass’n, 375 F.2d 648,

   653 (4th Cir. 1967).

         Here, litigation and discovery have revealed HRRG transmitted the subject

   collection communication to 783 individuals. Stern Decl. ¶27. Thus, the size is

   sufficient under Stewart, supra. Moreover, as defined, the class consists of those

   who were sent collection letters to a New Jersey address. Thus, the class members

   are connected to this District, and identifying them and their addresses is relatively

   easy as Defendant has already identified them using its records. Id. Therefore, like

   in Stair, numerosity is satisfied.


    (2) Commonality.

         FED. R. CIV. P. 23(a)(2) requires that there be “questions of law or fact

   common to the class.”

         The commonality requirement is not “a high bar.” Chiang v. Veneman, 385

   F.3d 256, 265 (3d Cir. 2004). Commonality “does not require an identity of claims

   or facts among class members.” Johnston v. HBO Film Mgmt., Inc., 265 F.3d 178,

   184 (3d Cir. 2001). Instead, it is met if the plaintiff’s grievances share at least one

   question of law or of fact with the prospective class. Smith v. Prof’l Billing &


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   Mgmt. Servs., 2007 U.S. Dist. LEXIS 86189, 2007 WL 4191749 (D.N.J. Nov. 21,

   2007) (citing Newton, 259 F.3d at 183). As the Supreme Court has found, “[w]e

   quite agree that for purposes of Rule 23(a)(2) even a single common question will

   do.” Wal-Mart, 564 U.S. at 359 (internal quotes, citations and editing omitted);

   Stewart, 275 F.3d at 227 (“commonality requirement … satisfied if the named

   plaintiffs share at least one question of fact or law with the grievances of the

   prospective class”).

         In the present case, Plaintiffs and the proposed class share the common facts

   that HRRG transmitted to each of them collection communications containing a

   false identification of the contacting collector. These communications were made

   with the intention of securing payment on an alleged debt. They also share the

   common question of law as to whether HRRG’s deceptive practice violated the

   plain language of § 1692e of the FDCPA. As there exists at least one common

   question of law or fact shared between Plaintiffs and the proposed class, the

   commonality requirement is satisfied. See Nyby v. Convergent Outsourcing Inc.,

   2017 U.S. Dist. LEXIS 122056. 2017 WL 3315264 (D.N.J. Aug. 3, 2017)

   (certifying a class for settlement purposes consisting of persons from whom

   defendant sought to collect a time-barred debt); Martsolf v. JBC Legal Group,

   P.C., 2008 U.S. Dist. LEXIS 6876, at *6, 2008 WL 275719 (M.D. Pa. Jan. 30,




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   2008) (referring to prior class certification order in action asserting FDCPA

   violations based on attempts to collect time-barred debts).

          In Stair, 254 F.R.D. at 198, the Court observed that, because commonality is

   subsumed by the predominance requirement under Fed. R. Civ. P. 23(b)(3),

   commonality was addressed under the Court’s predominance analysis. We discuss

   predominance in Part 9.B., infra.


    (3) Typicality.

          FED. R. CIV. P. 23(a)(3) requires that a representative plaintiff’s claims be

   “typical” of those of other class members.

                 To evaluate typicality, we ask “whether the named
                 plaintiffs’ claims are typical, in common-sense terms, of
                 the class, thus suggesting that the incentives of the
                 plaintiffs are aligned with those of the class.” Baby Neal
                 v. Casey, 43 F.3d 48, 55 (3d Cir. 1994). “‘[F]actual
                 differences will not render a claim atypical if the claim
                 arises from the same event or practice or course of conduct
                 that gives rise to the claims of the class members, and if it
                 is based on the same legal theory.’” Id. at 58 (quoting
                 Hoxworth v. Blinder, Robinson & Co., 980 F.2d 912, 923
                 (3d Cir.1992)). The adequacy inquiry “serves to uncover
                 conflicts of interest between named parties and the class
                 they seek to represent.” Amchem Products, Inc. v.
                 Windsor, 521 U.S. 591, 625 (1997). It “assures that the
                 named plaintiffs’ claims are not antagonistic to the class
                 and that the attorneys for the class representatives are
                 experienced and qualified to prosecute the claims on
                 behalf of the entire class.” Baby Neal, 43 F.3d at 55.




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   Beck v. Maximus, Inc., 457 F.3d 291, 295-96 (3d Cir. 2006). Thus, typicality often

   merges with adequacy. Id.

         Typicality is demonstrated where a plaintiff can “show that two issues of

   law or fact he or she shares in common with the class occupy the same degree of

   centrality to his or her claims as to those of unnamed class members.” Weiss v.

   York Hosp., 745 F.2d 786, 809-10 (3d Cir. 1984).

         The requirement is met here. The facts amongst the class and Plaintiffs are

   the same: HRRG transmitted the identical pre-recorded standardized telephonic

   voice message which failed to identify HRRG by its “true name” in violation of the

   FDCPA. The central legal issue in the Plaintiffs’ and class members’ claims is

   whether “ARS” is HRRG’s true name.

         In Stair, the court found no impediment to typicality, in part “[b]ecause the

   letter Plaintiff received from [the collector] was identical to those received by the

   class members in all relevant respects, Plaintiff’s claim is legally typical of the

   class members’ claim.” Stair, 254 F.R.D. at 199. Similarly, HRRG’s records

   demonstrate that it left the same pre-recorded voice message for Plaintiffs and each

   member of the class.

         Here, the same prerecorded telephonic voice message was transmitted to the

   Levinses and to each class member at least five times in the same manner with




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   respect to a debt owed to the same creditor. Plaintiffs’ claims are, therefore, typical

   of the class’s claim.


    (4) Adequacy.

         The final requirement under FED. R. CIV. P. 23(a) is set forth in subsection

   23(a)(4). It requires that “the representative parties will fairly and adequately

   protect the interests of the class.” It looks at whether the representatives and their

   counsel will prosecute the class claims vigorously to ensure that the absent class

   members’ interests will be properly advocated. Consequently, it also looks at

   conflicts of interest between those of the representatives and those of the class.

         Prior to the 2003 amendment to Rule 23, adequacy focused on both the

   plaintiff and plaintiff’s counsel. See, e.g., Prudential, 148 F.3d at 312. The Third

   Circuit recognized, however, that the amendment transferred consideration of class

   counsel’s adequacy to FED. R. CIV. P. 23(g). Larson, 687 F.3d at 132 n. 36; Dewey

   v. Volkswagen Aktiengesellschaft, 681 F.3d 170, 181 n. 13 (3d Cir. 2012); and,

   Sheinberg v. Sorensen, 606 F.3d 130, 132 (3d Cir. 2010). Furthermore,

   FED. R. CIV. P. 23(g), when read in conjunction with FED. R. CIV. P. 23(c)(1)(B),

   appears to sever the determination of counsel’s adequacy from the consideration as

   to whether to certify a class. Id., at 133.

         Courts have been slow to recognize this change and, referring to Sheinberg,

   one authority acknowledged the Third Circuit is the only appellate court to do so.


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   Newberg on Class Actions (5th ed.) §3:80 at 421. Nevertheless, there is continued

   difficulty eliminating all consideration of counsel under 23(a)(4). The Third Circuit

   observed:

                  “Realistically, for purposes of determining adequate
                  representation, the performance of class counsel is
                  intertwined with that of the class representative.” Pelt
                  v. Utah, 539 F.3d 1271, 1288 (10th Cir. 2008). As
                  our own Judge Aldisert has explained, “[e]xperience
                  teaches that it is counsel for the class representative
                  and not the named parties ... who direct and manage
                  [class] actions. Every experienced federal judge
                  knows that any statements to the contrary [are] sheer
                  sophistry.” Greenfield v. Villager Indus., Inc., 483
                  F.2d 824, 832 n. 9 (3d Cir. 1973).

   In re Cmty. Bank of N. Virginia, 622 F.3d 275, 292 (3d Cir. 2010). Similarly, in

   Coyle v. Hornell Brewing Co., 2011 U.S. Dist. LEXIS 97762, 2011 WL 3859731

   (D.N.J. Aug. 30, 2011), the court suggested that Sheinberg did not extract

   consideration of counsel’s adequacy from FED. R. CIV. P. 23(a)(4) but merely

   required that the FED. R. CIV. P. 23(g) factors be considered.

         Consequently, the adequacy of both the Plaintiffs and their counsel are

   addressed here, incorporating the requirements under FED. R. CIV. P. 23(g).

         Beginning with Plaintiffs’ adequacy, the focus is on whether Plaintiffs’

   interests conflict with the class. “The adequacy inquiry under Rule 23(a)(4) serves

   to uncover conflicts of interest between named parties and the class they seek to

   represent.” Amchem, 521 U.S. at 625; Larson, 687 F.3d at 132.



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         Elaine and William Levins disavow the existence of any conflicts of interest

   (Elaine Levins Decl. ¶10; William Levins Decl. ¶10) and have been active

   participants throughout all phases of this litigation (Stern Decl. ¶¶33-38). Indeed,

   their interests and the class’s interests are the same, precluding the possibility that

   their interests are antagonistic. All seek statutory damages awardable under the

   FDCPA and Plaintiffs’ pursuit of those statutory damages for themselves is not in

   conflict with the class’s objectives. To the contrary, they all seek the same

   objectives; Elaine and William Levins meet the adequacy requirement.

         Regarding class counsel’s adequacy, the Court must consider four factors:

               (i)   the work counsel has done in identifying or
                     investigating potential claims in the action;
               (ii) counsel’s experience in handling class actions, other
                    complex litigation, and the types of claims asserted in
                    the action;
               (iii) counsel’s knowledge of the applicable law; and
               (iv) the resources that counsel will commit to representing
                    the class[.]

   FED. R. CIV. P. 23(g)(1)(A); Sheinberg, 606 F.3d at 132-133. In addition, the Court

   may consider “any other matter pertinent to counsel’s ability to fairly and

   adequately represent the interests of the class.” FED. R. CIV. P. 23(g)(1)(B);

   Sheinberg, 606 F.3d at 132-133.

         The Declarations of Mr. Kim and Mr. Stern explain that Plaintiffs’ counsel

   has undertaken extensive work investigating and identifying and pursuing potential



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   claims, counsel’s significant experience handling class actions including the types

   of claims asserted here, counsel’s knowledge of the FDCPA, and that, not only is

   counsel willing to commit sufficient resources to representing the class, but that

   counsel has already done so. (Kim Decl. ¶¶15-16; Stern Decl. ¶33-38). See also

   Pro v. Hertz Equip. Rental Corp., 72 Fed.R.Serv.3d 485, *7 (D.N.J. 2008)

   (willingness to commit resources evidenced by having already expended

   significant resources).

         Under these circumstances, both the Plaintiffs and their proposed class

   counsel have satisfied the adequacy requirements under FED. R. CIV. P. 23(a)(4).

           B.    Maintaining a B(3) Class: Predominance and Superiority
         Like in Stair, “predominance and superiority requirements are easily

   satisfied here.” Stair, 254 F.R.D. at 200.

         The Court must find that “the questions of law or fact common to class

   members predominate over any questions affecting only individual members.”

   FED. R. CIV. P. 23(b)(3). Predominance considers the extent to which proof of the

   class members’ claims can be shown “through evidence that is common to the

   class rather than individual to its members.” Marcus, 687 F.3d at 600 (quoting

   Hydrogen Peroxide). Thus, it requires the Court to “formulate some prediction as

   to how specific issues will play out in order to determine whether common or

   individual issues predominate in a given case.” Hydrogen Peroxide, 552 F.3d at



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   311. One commentator observed that “the predominance analysis logically entails

   two distinct steps… A court must first characterize the issue in the case as

   common or individual and then weigh which predominates. * * * This is more of a

   qualitative than quantitative analysis.” Newberg on Class Actions (5th ed.) § 4:50

   at 196-7.

         The Court must also find “that a class action is superior to other available

   methods for fairly and efficiently adjudicating the controversy.” FED. R. CIV. P.

   23(b)(3). This analysis requires comparing a representative action to multiple

   individual claims. Newberg on Class Actions (5th ed.) § 4:64 at 250.

         Rule 23(b)(3), enumerates four factors to be considered in resolving the

   predominance and superiority issues:

                (A) the class members’ interests in individually
                controlling the prosecution or defense of separate actions;
                (B) the extent and nature of any litigation concerning the
                controversy already begun by or against class members;
                (C) the desirability or undesirability of concentrating the
                litigation of the claims in the particular forum; and
                (D) the likely difficulties in managing a class action.

         “All four factors weigh in favor of class certification here.” Stair, 254 F.R.D.

   at 201. Indeed, just like in Stair, Plaintiffs and each class member received the

   same collection communication in the form of a pre-recorded telephonic voice

   message, which contained the same standardized language attempting to collect a

   debt. In this case, the standardized language included deceptive, false, and


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   misleading identification by HRRG. Although each communication was generated

   and initiated with information specific as to each member’s identity and account

   information, that individualized information is irrelevant to the class claim.

         Rather, the class claim addresses HRRG’s standardized practice of using a

   name other than its true name as a means of securing payment on an alleged debt.

   Thus, proof of the class’s claim is based on evidence common to all class

   members. There is no need for individualized evidentiary submissions. Instead, the

   ultimate question as to whether the telephonic voice message HRRG transmitted to

   all class members violated the FDCPA can be readily proven with evidence

   common to all class members.

         In addition, here, the statutory cap on the quantum of damages renders

   individualized prosecution of each class member’s claims inefficient and,

   therefore, unlikely. “[I]ndividual consumer class members have little interest in

   individually controlling the prosecution or defense of separate actions because

   each consumer has a very small claim in relation to the cost of prosecuting a

   lawsuit.” In re Warfarin Sodium Antitrust Litig., 391 F.3d 516, 534 (3d Cir. 2004).

   Consequently, aggregating those claims is more efficient and economical. Stair,

   254 F.R.D. at 201.

         The Supreme Court has recognized the advantage of class actions.

                The policy at the very core of the class action mechanism
                is to overcome the problem that small recoveries do not

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                provide the incentive for any individual to bring a solo
                action prosecuting his or her rights. A class action solves
                this problem by aggregating the relatively paltry potential
                recoveries into something worth someone’s (usually an
                attorney’s) labor.

   Amchem Products, 521 U.S. at 617. Significantly, the Amchem Court was quoting

   Mace, 109 F.3d at 344, a case which specifically considered the effects flowing

   from the FDCPA’s imposition of caps on statutory damages.

         Adjudicating the class claims in one forum also makes practical sense. Here,

   one limitation to be being a class member is that the consumer was a New Jersey

   resident at the time HRRG left its message. As New Jersey is a single District,

   adjudicating the claims in the District of New Jersey is efficient.

         There should be no difficulty in managing the class. There is no indication

   of any individualized facts. The class consists of individuals to whom HRRG

   transmitted the same communication. The communication is not evaluated from

   the individual or subjective perspective of the Plaintiff or any class member, but,

   instead, from the objective perspective of the least sophisticated consumer. That

   “standard comports with a basic purpose of the FDCPA: as previously stated, to

   protect all consumers, the gullible as well as the shrewd.” Brown, 464 F.3d at 454

   (internal quotation marks omitted). Furthermore, the award of statutory damages is

   based on factors specified at 15 U.S.C. § 1692(b)(2), namely: “[1] the frequency

   and persistence of noncompliance by the debt collector, [2] the nature of such



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   noncompliance, [3] the resources of the debt collector, [4] the number of persons

   adversely affected, and [5] the extent to which the debt collector’s noncompliance

   was intentional.” None of the factors suggest the inability to manage the class.

         For all of those reasons, the predominance and superiority requirements are

   satisfied sufficient to certify this class under FED. R. CIV. P. 23(b)(3).


                                        10.CONCLUSION
         For the foregoing reasons, Plaintiffs Elaine Levins and William Levins

   respectfully request the Court enter an Order (1) certifying this action as a class

   action under FED. R. CIV. P. 23(b)(3) pursuant to FED. R. CIV. P. 23(c)(1)(A); and

   (2) define the class and the class claims, appoint Plaintiffs as class representative,

   and appoint class counsel pursuant to FED. R. CIV. P. 23(c)(1)(B).

                                                   Respectfully submitted,

                                                   KIM LAW FIRM LLC
   Dated: June 6, 2022
                                                   s/Philip D. Stern
                                                   Philip D. Stern




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